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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 08-cv-01625-EWN-BNB

  ELAINE COPE,

                 Plaintiff,

  v.

  CREDITORS FINANCIAL GROUP, LLC, a New York limited liability company,

                 Defendant.


                   NOTICE OF DISMISSAL WITH PREJUDICE
  ______________________________________________________________________

           COMES NOW the Plaintiff by her undersigned attorney of record who hereby

  notifies the Court that the parties have settled this case and pursuant to Rule 41(a)(1)(i)

  of the Federal Rules of Civil Procedure hereby dismisses this case with prejudice and

  on the merits pursuant hereto with each party to pay her or its own attorney’s fees and

  costs.


  Dated: August 26, 2008.


                                            Respectfully submitted,


                                            _s/ David M. Larson___________
                                            David M. Larson, Esq.
                                            405 S. Cascade Avenue Suite 305
                                            Colorado Springs, CO 80903
                                            (719) 473-0006
                                            Attorney for the Plaintiff
